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                      IN THE UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                  SOUTHERN DIVISION
19
     MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and           )
     CERCACOR LABORATORIES, INC.,          ) PARTIES’ COMBINED PROPOSED
21   a Delaware corporation                ) JURY VERDICT FORMS AND
                                           ) OBJECTIONS TO JURY VERDICT
22            Plaintiffs,                  ) FORMS
                                           )
23       v.                                )
                                           )
24   APPLE INC., a California corporation )) Trial:   4/4/2023
25            Defendant.                   )
                                           ) Hon. James V. Selna
26                                         )
                                           )
27                    REDACTED VERSION OF DOCUMENT
                      PROPOSED TO BE FILED UNDER SEAL
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10     MASIMO’S PROPOSED JURY VERDICT FORM AND OBECTIONS TO
11                     APPLE’S PROPOSED VERDICT FORM
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1                                        I.     VERDICT FORM
2           Instructions: When answering the following questions and filling out this Verdict Form, please

3    follow the directions provided throughout the form and in accordance with the Jury Instructions. Please

4    refer to the Jury Instructions for guidance on the law applicable to the subject matter covered by each

5    question.

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1      1. Do you find that Masimo has proven that Apple misappropriated one or more of the following

2          asserted trade secrets?

3                                                                   Yes                   No
                         Trade Secret
                                                               (for Masimo)          (for Apple)
4
                    D1
5
                    D2
6                   D3
7                        L1
8                        L2
     Business Strategy B1
9
     Business Strategy B2
10
     Business Strategy B3
11   Business Strategy B4
12   Business Strategy B5
13   Business Strategy B6

14   Value, Importance, and Appropriateness of trade
     secrets D1, D2, D3, L1, L2, B1, B3, or B5,
15   individually or collectively or in any combination

16
17     2. If you find Apple misappropriated one or more asserted trade secret(s), do you find that

18         Masimo has proven any such misappropriation was willful and malicious?

19
20                                   ____________               ____________
                                          Yes                         No
21                                   (for Masimo)                (for Apple)
22
23     3. If you find Apple misappropriated one or more asserted trade secret(s), how much money

24         should Apple pay Masimo for that trade secret misappropriation?

25
26         $______________________________________

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1       4.   Do you find that Apple has proven that the statute of limitations prevents Masimo from

2            asserting a claim for misappropriation of one or more of the following asserted trade

3            secrets?

4
5                                                                   No                    Yes
                         Trade Secret
                                                               (for Masimo)           (for Apple)
6
                    D1
7
                    D2
8                   D3
9                        L1
10                       L2
     Business Strategies B1
11
     Business Strategies B2
12
     Business Strategies B3
13   Business Strategies B4
14   Business Strategies B5
15   Business Strategies B6

16   Value, Importance, and Appropriateness of trade
     secrets D1, D2, D3, L1, L2, B1, B3, or B5,
17   individually or collectively or in any combination

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1      5. Do you find that Masimo has proven that Mohamed Diab should be added as one of the

2           inventors on the following patents?

3
4                            Patent
                                                                   Yes                   No
                                                              (for Masimo)          (for Apple)
5    U.S. Patent No. 10,078,052
6    U.S. Patent No. 10,247,670
7    U.S. Patent No. 9,952,095

8    U.S. Patent No. 11,009,390

9
       6. Do you find that Masimo has proven that Jeroen Poeze should be added as one of the
10
            inventors on U.S. Patent No. 10,219,754?
11
12
                                      ____________             ____________
13                                         Yes                       No
                                      (for Masimo)              (for Apple)
14
15
       7.   Do you find that Masimo has proven that it should be a co-owner of one or more of the
16
            following patents?
17
18
                                                                   Yes                   No
                             Patent
19                                                            (for Masimo)          (for Apple)
     U.S. Patent No. 10,078,052
20
     U.S. Patent No. 10,247,670
21
     U.S. Patent No. 9,952,095
22   U.S. Patent No. 11,009,390
23   U.S. Patent No. 10,219,754

24
25
26   Dated: ___________________                               By:______________________

27                                                                   Jury Foreperson

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1                     II.    OBJECTIONS TO APPLE’S VERDICT FORM
2    A.       Apple’s Verdict Form Is Too Long and Too Detailed
3             The Verdict Form should be as simple and streamlined as possible. See Falcon
4    Stainless, Inc. v. Rino Cos., Inc., 2011 WL 13130703, at *17 (C.D. Cal. Oct. 21, 2011)
5    (replacing “long and confusing” special verdict form proposed by the parties with a
6    general verdict form after jury deadlocked over “long and confusing” special verdict
7    form).
8             Apple’s proposed 35-page Verdict Form violates this basic principle by
9    presenting a special question on nearly every potential subsidiary issue. Apple’s
10   proposed Verdict Form contains 93 separate questions for the jury. For example,
11   Apple’s proposed Verdict Form asks the jury to separately address each element of trade
12   secret misappropriation for each asserted trade secret. Apple turns one claim for trade
13   secret misappropriation into 72 questions on liability alone.
14            Apple complains that Masimo’s “proposed verdict form oversimplifies and
15   confuses the decision-making process and risks injecting errors into the final verdict.”
16   Apple Objections at 1:7-9. Apple does not explain how Masimo’s verdict form could
17   be too simple or why that could be confusing. Apple specifically ignores that a verdict
18   form need not, and should not, list every issue that the jury may consider during
19   deliberations, and the verdict form certainly should not include issues that the jury will
20   not consider. As the Fifth Circuit explained:
21            [T]here is no basis for [the appellant’s] apparent assumption that because
              an issue is important to the outcome of a case, the jury must be instructed
22
              to supply a specific answer informing the court how they resolved that one
23            issue. No party is entitled to a special verdict on each of the multi-faceted,
              multitudinous issues essential to the resolution of a given case.
24
25   Bowers v. Firestone Tire & Rubber Co., 800 F.2d 474, 478 (5th Cir. 1986).
26            The D.C. Circuit specifically explained that even verdict forms that include
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1    special questions should not contain the same level of detail as the jury instructions:
2          As the court explained to the jury, the purpose of the special question form
           was to “make (its) task easier.” For the special question form to contain
3
           everything that the court explained in the oral instructions would have
4          rendered it an extremely unwieldy and burdensome document inasmuch as
           the oral instructions occupied some 39 transcript pages as reported.
5
6    Columbia Plaza Corp. v. Security Nat’l Bank, 676 F.2d 780, 787 (D.C. Cir. 1982). See
7    also Ortiz v. New York City Housing Authority, 22 F. Supp. 2d 15, 26 (E.D.N.Y. 1998)
8    (refusing to submit a special verdict question on an issue adequately addressed by jury
9    instructions). The court in Columbia Plaza characterized a 39-page transcript as making
10   for an “extremely unwieldy and burdensome” document. Apple’s 93-question proposed
11   Verdict Form is nearly as long at 35 pages.
12         Apple proposed questions for every potential issue for each trade secret and
13   ignored that much of the evidence will be common between trade secrets. For example,
14   the Court recognized that Masimo need not present, for each trade secret, distinct
15   evidence of Masimo’s reasonable efforts under the circumstances to maintain secrecy.
16   And as some of the asserted trade secrets incorporate other trade secrets, many of the
17   answers will necessarily be the same. The complexity of Apple’s 88-question proposed
18   Verdict Form would be unhelpful and confusing to the jury. See Bowers, 800 F.2d at
19   478. Apple also needlessly includes in its proposed Verdict Form descriptions of the
20   trade secrets. See pp. 3, 5, 7, 9, 11, 13, 15, 17, 19, 21, 23, 25. The descriptions,
21   numbering, and titles in Exhibit A will be included in the juror notebook.
22         Apple’s proposed Verdict Form is so complicated that Apple converted it into a
23   flow chart to make it appear shorter and more manageable. However, the serpentine
24   arrows, paragraph explanations, and inconsistent word bubbles are likely to confuse the
25   jury. The Verdict Form should be short, simple, and easy to understand to make the
26   jury’s task as manageable as possible. Apple’s proposed Verdict Form is not.
27   B.    Apple’s Verdict Form Is Not Balanced
28         Apple’s proposed Verdict Form is not merely too long and too detailed, it is also
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1    too long and too detailed in a one-sided way. For example, Apple proposes detailed
2    questions only for issues on which Masimo bears the burden of proof. Apple proposes
3    the jury should answer 72 questions on liability for Masimo’s one claim for trade secret
4    misappropriation. However, Apple proposes the jury need answer only three questions
5    to resolve Apple’s two defenses. Apple’s proposal would be unfair to the jury and
6    Masimo because it would make it less burdensome for the jury to find in Apple’s favor.
7          Apple’s proposed Verdict Form also cherry-picks phrases from the anticipated
8    jury instructions and includes them only where it might give Apple an advantage. For
9    example, Apple’s proposed question numbers 78, 79, 81, 83, 85, and 87 refer to
10   Masimo’s burden to present “clear and convincing evidence” to establish inventorship.
11   However, Apple’s proposed Verdict Form does not use the phrase “preponderance of
12   the evidence” with regard to any issue on which that would be Masimo’s burden. Nor
13   does Apple’s proposed Verdict Form reference any burden that Apple bears on any issue.
14         Apple’s proposed flow charts are one-sided. Apple’s flow charts for the trade
15   secrets are organized to make it easier to find in favor of Apple and harder to find in
16   favor of Masimo. See pp. 4, 6, 8, 10, 12, 14, 16, 18, 20, 22, 24. Apple then flips the
17   organization of the flow charts for Apple’s defenses in two ways. See p. 27. First, Apple
18   omits the elements of each defense so the jury could find in Apple’s favor based on a
19   single question. Id. Second Apple nests its two defenses to again make it seem as if it
20   is easier to find in Apple’s favor. Id.
21         Apple also includes one-sided instructions. For example, under the heading
22   “Apple’s Defenses,” Apple proposes telling the jury it should complete that section
23   “only if you found Apple may be liable for misappropriation” and that “[i]f you have
24   not found that Apple may be liable for misappropriating any Alleged Trade Secrets,
25   please skip this section and the next section[.]” See p. 27 (emphasis added). Similarly,
26   under the heading “Damages,” Apple proposes telling the jury “[i]f, and only if, you
27   have unanimously determined that [Masimo has] proven that Apple may be liable for
28   misappropriation” should you evaluate damages.          See p. 28 (emphasis added).
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1    “However, if you determined that [Masimo] did not prove that Apple may be liable for
2    misappropriation … then SKIP this section[.]” Id. (capitalization in original). This
3    language is weighted against finding liability.
4    C.    Apple’s Verdict Form Fails To Ask About Its Statute Of Limitations
5          Defense Separately For Each Asserted Trade Secret
6          Apple’s proposed Verdict Form asks the jury to address Apple’s statute of
7    limitations defense for all asserted trade together, instead of on a trade-secret-by-trade-
8    secret basis. (The parties brief the same issue in connection with Proposed Jury
9    Instruction 34.)   Apple asserts that “the limitations period begins to run on all
10   misappropriation claims when plaintiff knew or should have discovered the first instance
11   of misappropriation.” Apple’s assertion is overbroad and wrong for multiple reasons.
12         First, Apple relies on MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095,
13   1110 (N.D. Cal. 2012), but Apple omits that even MedioStream held that the statute of
14   limitations begins to run as to other trade secrets only if “they are related.” Id.
15   MedioStream also cites cases that reached the same conclusion. See Forcier v. Microsoft
16   Corp., 123 F. Supp. 2d 520, 526 (N. D. Cal. 2000) (“alleged trade secrets at issue all are
17   related”); HiRel Connectors, Inc. v. U.S., 465 F. Supp. 2d 984, 988 (C.D. Cal. 2005)
18   (addressing “separate misappropriations of related trade secrets”); see also Intermedics,
19   822 F.Supp. at 654 (statute began to run “at least for all related matters”).
20         Here, at least the Business Strategies trade secrets are not related to any of the
21   technical trade secrets (and vice versa), the                        trade secrets are not
22   related to the                trade secrets (and vice versa), and L1 is not related to L2
23   (or vice versa).
24         Second, Apple ignores that awareness of one former employee’s misappropriation
25   does not place a company on notice of misappropriation by other former employees.
26   Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 1003 (C.D. Cal. 2011) (“‘continuing
27   misappropriation’ refers to multiple acts by one individual and not, as here, many other
28   employees”). Thus, the jury could at least find that trade secrets misappropriated by or
                                                 -9-
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1    via O’Reilly did not put Masimo on notice that trade secrets may have been
2    misappropriated by or via Lamego (and vice versa).
3          Third, Apple ignores that this Court addressed the legal standards for triggering
4    the statute of limitations when Apple filed its first motion for partial summary judgment
5    in 2021. This Court explained that, “when there is reason to suspect that a trade secret
6    has been misappropriated, and a reasonable investigation would produce facts
7    sufficient to confirm this suspicion (and justify bringing suit), the limitations period
8    begins, even though the plaintiff has not conducted such an investigation.” Dkt. 606 at 3
9    (emphasis added) (quoting Hays v. VDF Futureceuticals, Inc., 2016 WL 5660395, at *3
10   (D. Haw. Sept. 28, 2016)). This Court further explained that “a suspicion that [trade
11   secrets] theoretically could be shared provides an insufficient basis for filing a trade
12   secret misappropriation claim.” Id. at 7 (citing Cypress Semiconductor Corp.v. Superior
13   Ct., 163 Cal. App. 4th 575, 587, (2008)).
14         Even if Masimo had a reason to suspect misappropriation of one trade secret, if a
15   reasonable investigation would not have produced facts sufficient to justify bringing suit
16   on other trade secrets, then the statute should not begin running as to those other trade
17   secrets.
18         Thus, the jury should evaluate Apple’s statute of limitations defense
19   independently for each trade secret.
20   D.    Apple’s Verdict Form Includes Improper Questions
21         Apple’s proposed Verdict Form compounds its complexity and exacerbates
22   confusion by posing questions on issues that are not necessary to resolve Masimo’s
23   claims or Apple’s defenses. For example, Apple’s proposed question number 77
24   requires the jury to “specify the mathematical connection(s) between the Alleged Trade
25   Secret(s) for which you found Apple liable for misappropriation and the numerical
26   award above.” This question is hopelessly vague and ambiguous because the jury cannot
27   be expected to know what Apple means by a “mathematical connection” between a trade
28   secret (which is business and marketing or technical information) and an amount of
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1    money. This invites confusion, mistake, and error. Moreover, Apple offers no support
2    for why the jury would need to identify such a “mathematical connection” (whatever
3    that means) to award damages, or resolve any other issues in this case.
4          The Court should also reject Apple’s proposed Verdict Form because many of the
5    questions are objectionable; beginning with the very first question. There is no reason
6    to ask the jury whether Masimo and Cercacor proved that “they owned the information
7    described by Alleged Business And Marketing Strategies Trade Secret 1.” The Court
8    already held that Masimo need not prove “ownership” of the asserted trade secrets.
9    Indeed, Apple’s footnote 1 recognizes as much. Question numbers 7, 13, 19, 25, 31, 37,
10   43, 49, 55, 61, and 67 suffer from the same problem.
11         Apple proposes a series of questions that ask about the subsidiary issue of whether
12   the asserted trade secrets derive economic value from not being generally known. See
13   question numbers 3, 9, 15, 21, 27, 33, 39, 45, 51, 57, 63, and 69. These questions are
14   improper because they are directed to subsidiary issues as discussed above. However,
15   Apple’s proposed Verdict Form also offers question numbers 2, 8, 14, 20, 26, 32, 38,
16   44, 50, 56, 62, and 68, which ask about a non-existent freestanding “generally known”
17   requirement. These questions emphasize the redundant and confusing nature of Apple’s
18   proposed Verdict Form.
19         Apple also proposes a series of questions directed to the second element of trade
20   secret eligibility, which requires reasonable efforts under the circumstances to maintain
21   secrecy. See question numbers 4, 10, 16, 22, 28, 34, 40, 46, 52, 58, 64, and 70. However,
22   in addition to being improperly directed toward a subsidiary issue, Apple’s questions
23   omit the “under the circumstances” language from the statute. See Cal. Civ. Code
24   § 3462.1.
25         Apple’s proposed questions would mislead the jury and prevent the jury from
26   considering the factual issues essential to rendering a verdict. Therefore Apple’s
27   questions are improper. See United States v. Real Property Located at 20832 Big Rock
28   Drive, Malibu, Cal. 902655, 51 F.3d 1402, 1408 (9th Cir. 1995) (“discretion extends to
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1    determining the content and layout of the verdict form, and any interrogatories submitted
2    to the jury, provided the questions asked are reasonably capable of an interpretation that
3    would allow the jury to address all factual issues essential to judgment”).
4          Apple’s proposed question numbers 6, 12, 18, 24, 30, 36, 42, 48, 54, 60, 66, 72,
5    and 76 are also objectionable. These questions inappropriately ignore that Masimo seeks
6    lost profits. Apple makes the reciprocal argument that Masimo’s Verdict Form fails to
7    recognize that Masimo is limited to seeking unjust enrichment. The parties have briefed
8    this issue and Masimo understands the Court will resolve it. Masimo respectuffly
9    suggests the Court should include the language for seeking lost profits and address any
10   necessary revisions during the charge conference.
11         Apple’s questions also improperly suggest that proving any type of damages is
12   necessary to establish liability.
13   E.    The Verdict Form Should Identify The Trade Secrets As Presented In The
14         Pretrial Conference Order
15         Apple’s proposed Verdict Form is confusingly inconsistent with the numbering
16   and titles of the asserted trade secrets that the Court approved for presentation to the
17   jury. See Pretrial Conf. Order, Exhibit A. Apple also changes the order of the trade
18   secrets, listing the business trade secrets first. Exhibit A will be in the juror notebook
19   and the parties will use the consecutive numbering and titles in Exhibit A in
20   demonstratives and argument. Changing the numbering, titles, description of the “value,
21   importance, and appropriateness” trade secret, or the sequence of the trade secrets in the
22   Verdict Form would cause confusion.
23   F.    Masimo’s Verdict Form Need Not Allocate Ownership Between Masimo
24         And Cercacor
25         Apple provides no reason why the jury would need to allocate ownership of the
26   Disputed Patents between Masimo and Cercacor. All the jury needs to do is determine
27   that Masimo and Cercacor have an ownership interest. There is no reason to involve the
28   jury in a purely internal matter.
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1    G.    Conclusion
2          For all these reasons, the Court should adopt Masimo’s proposed Verdict Form
3    rather than Apple’s.
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11                     MASIMO’S PROPOSED VERDICT FORM
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                           I.    APPLE’S VERDICT FORM




        When answering the following questions and filling out this Verdict Form,
 please follow the directions provided throughout the form. Your answer to each
 question must be unanimous. Some of the questions contain legal terms that are
 defined and explained in detail in the Jury Instructions. Please refer to the Jury
 Instructions if you are unsure about the meaning or usage of any legal term that
 appears in the questions below.



        We, the jury, unanimously agree to the answers to the following questions and
   return them under the instructions of this Court as our verdict in this case.




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                                     TRADE SECRET ALLEGATIONS1




 1
   Apple preserves its legal position that Plaintiffs must prove which party owned each alleged trade secret. Apple
 also reserves the right to seek a special verdict question on each of the following issues depending on how the Court
 rules on the following jury instruction disputes: (1) readily ascertainable, (2) combination trade secrets, and (3)
 liability based on improper acquisition.
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                     Plaintiffs’ Alleged Business Strategies No. 1




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                  Plaintiffs’ Alleged Business Strategies Trade Secret No. 1 — Liability

1. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
   Alleged Business Strategies Trade Secret 1 (B1) at the time of the alleged misappropriation?
   No _____             Yes _____


               2. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, B1 was not
                  generally known to the public or to people who could obtain economic value from its disclosure or
                  use?
                   No _____               Yes _____



              3. Have Masimo and Cercacor proven that B1 had actual or potential independent economic value
                 because it was not generally known to the public or to people who could obtain economic value
                 from its disclosure or use?
                   No _____               Yes _____


              4. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                 maintain the secrecy of B1?
                   No _____               Yes _____



              5. Have Masimo and Cercacor proven that Apple used B1 and knew or had reason to know that it had
                 obtained B1 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



              6. Have Masimo and Cercacor proven that Apple’s misappropriation of B1 caused Apple to be unjustly
                 enriched?
                   No _____               Yes _____




    This Alleged Trade Secret Claim Fails And You Do Not Need To           You Will Need To Consider Apple’s Defenses
                          Consider It Further
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               Plaintiffs’ Alleged Business Strategies Trade Secret No. 2




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                  Plaintiffs’ Alleged Business Strategies Trade Secret No. 2 — Liability

7. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
   Alleged Business Strategies Trade Secret 2 (B2) at the time of the alleged misappropriation?
   No _____             Yes _____


               8. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, B2 was not
                  generally known to the public or to people who could obtain economic value from its disclosure or
                  use?
                   No _____               Yes _____



              9. Have Masimo and Cercacor proven that B2 had actual or potential independent economic value
                 because it was not generally known to the public or to people who could obtain economic value
                 from its disclosure or use?
                   No _____               Yes _____


              10. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                  maintain the secrecy of B2?
                   No _____               Yes _____



              11. Have Masimo and Cercacor proven that Apple used B2 and knew or had reason to know that it had
                  obtained B2 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



              12. Have Masimo and Cercacor proven that Apple’s misappropriation of B2 caused Apple to be unjustly
                  enriched?
                   No _____               Yes _____




   This Alleged Trade Secret Claim Fails And You Do Not Need To               You Will Need To Consider Apple’s
                         Consider It Further                                              Defenses

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               Plaintiffs’ Alleged Business Strategies Trade Secret No. 3




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                  Plaintiffs’ Alleged Business Strategies Trade Secret No. 3 — Liability

13. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
    Alleged Business Strategies Trade Secret 3 (B3) at the time of the alleged misappropriation?
   No _____             Yes _____


              14. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, B3 was not
                  generally known to the public or to people who could obtain economic value from its disclosure or
                  use?
                   No _____               Yes _____



              15. Have Masimo and Cercacor proven that B3 had actual or potential independent economic value
                  because it was not generally known to the public or to people who could obtain economic value
                  from its disclosure or use?
                   No _____               Yes _____


              16. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                  maintain the secrecy of B3?
                   No _____               Yes _____



              17. Have Masimo and Cercacor proven that Apple used B3 and knew or had reason to know that it had
                  obtained B3 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



              18. Have Masimo and Cercacor proven that Apple’s misappropriation of B3 caused Apple to be unjustly
                  enriched?
                   No _____               Yes _____




 This Alleged Trade Secret Claim Fails And You Do Not Need To              You Will Need To Consider Apple’s Defenses
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               Plaintiffs’ Alleged Business Strategies Trade Secret No. 4




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                  Plaintiffs’ Alleged Business Strategies Trade Secret No. 4 — Liability

19. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
    Alleged Business Strategies Trade Secret 4 (B4) at the time of the alleged misappropriation?
   No _____             Yes _____


               20. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, B4 was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                   No _____               Yes _____



              21. Have Masimo and Cercacor proven that B4 had actual or potential independent economic value
                  because it was not generally known to the public or to people who could obtain economic value
                  from its disclosure or use?
                   No _____               Yes _____


              22. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                  maintain the secrecy of B4?
                   No _____               Yes _____



              23. Have Masimo and Cercacor proven that Apple used B4 and knew or had reason to know that it had
                  obtained B4 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



              24. Have Masimo and Cercacor proven that Apple’s misappropriation of B4 caused Apple to be unjustly
                  enriched?
                   No _____               Yes _____




   This Alleged Trade Secret Claim Fails And You Do Not Need To            You Will Need To Consider Apple’s Defenses
                         Consider It Further
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               Plaintiffs’ Alleged Business Strategies Trade Secret No. 5




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                  Plaintiffs’ Alleged Business Strategies Trade Secret No. 5 — Liability

25. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
    Alleged Business Strategies Trade Secret 5 (B5) at the time of the alleged misappropriation?
   No _____              Yes _____


               26. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, B5 was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                   No _____               Yes _____



               27. Have Masimo and Cercacor proven that B5 had actual or potential independent economic value
                   because it was not generally known to the public or to people who could obtain economic value
                   from its disclosure or use?
                   No _____               Yes _____


               28. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                   maintain the secrecy of B5?
                   No _____               Yes _____



               29. Have Masimo and Cercacor proven that Apple used B5 and knew or had reason to know that it had
                   obtained B5 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



               30. Have Masimo and Cercacor proven that Apple’s misappropriation of B5 caused Apple to be unjustly
                   enriched?
                   No _____               Yes _____




    This Alleged Trade Secret Claim Fails And You Do Not Need To            You Will Need To Consider Apple’s Defenses
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               Plaintiffs’ Alleged Business Strategies Trade Secret No. 6




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                  Plaintiffs’ Alleged Business Strategies Trade Secret No. 6 — Liability

31. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
    Alleged Business Strategies Trade Secret 6 (B6) at the time of the alleged misappropriation?
   No _____              Yes _____


               32. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, B6 was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                   No _____               Yes _____



               33. Have Masimo and Cercacor proven that B6 had actual or potential independent economic value
                   because it was not generally known to the public or to people who could obtain economic value
                   from its disclosure or use?
                   No _____               Yes _____


               34. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                   maintain the secrecy of B6?
                   No _____               Yes _____



               35. Have Masimo and Cercacor proven that Apple used B6 and knew or had reason to know that it had
                   obtained B6 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



               36. Have Masimo and Cercacor proven that Apple’s misappropriation of B6 caused Apple to be unjustly
                   enriched?
                   No _____               Yes _____




    This Alleged Trade Secret Claim Fails And You Do Not Need To            You Will Need To Consider Apple’s Defenses
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                Plaintiffs’ Alleged            Trade Secret No. 1




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                   Plaintiffs’ Alleged                         Trade Secret No. 1 — Liability

37. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by Alleged
                    Trade Secret 1 (L1) at the time of the alleged misappropriation?
   No _____              Yes _____


               38. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, L1 was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                    No _____              Yes _____



               39. Have Masimo and Cercacor proven that L1 had actual or potential independent economic value
                   because it was not generally known to the public or to people who could obtain economic value
                   from its disclosure or use?
                   No _____               Yes _____


               40. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                   maintain the secrecy of L1?
                   No _____               Yes _____



               41. Have Masimo and Cercacor proven that Apple used L1 and knew or had reason to know that it had
                   obtained L1 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                    No _____              Yes _____



               42. Have Masimo and Cercacor proven that Apple’s misappropriation of L1 caused Apple to be unjustly
                   enriched?
                   No _____               Yes _____




  This Alleged Trade Secret Claim Fails And You Do Not Need                You Will Need To Consider Apple’s Defenses
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                Plaintiffs’ Alleged            Trade Secret No. 2




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                   Plaintiffs’ Alleged                         Trade Secret No. 2 — Liability

43. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by Alleged
                    Trade Secret 2 (L2) at the time of the alleged misappropriation?
   No _____              Yes _____


               44. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, L2 was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                    No _____               Yes _____



               45. Have Masimo and Cercacor proven that L2 had actual or potential independent economic value
                   because it was not generally known to the public or to people who could obtain economic value
                   from its disclosure or use?
                   No _____                Yes _____


               46. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                   maintain the secrecy of L2?
                   No _____                Yes _____



               47. Have Masimo and Cercacor proven that Apple used L2 and knew or had reason to know that it had
                   obtained L2 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                    No _____               Yes _____



               48. Have Masimo and Cercacor proven that Apple’s misappropriation of L2 caused Apple to be unjustly
                   enriched?
                   No _____                Yes _____




   This Alleged Trade Secret Claim Fails And You Do Not                    You Will Need To Consider Apple’s Defenses
                Need To Consider It Further
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                 Plaintiffs’ Alleged         Trade Secret No. 1




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                     Plaintiffs’ Alleged                      Trade Secret No. 1 — Liability

49. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
    Alleged            Trade Secret 1 (D1) at the time of the alleged misappropriation?
   No _____             Yes _____


              50. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, D1 was not
                  generally known to the public or to people who could obtain economic value from its disclosure or
                  use?
                   No _____              Yes _____



              51. Have Masimo and Cercacor proven that D1 had actual or potential independent economic value
                  because it was not generally known to the public or to people who could obtain economic value
                  from its disclosure or use?
                  No _____               Yes _____


            52. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to maintain
                the secrecy of D1?
                  No _____               Yes _____



              53. Have Masimo and Cercacor proven that Apple disclosed D1 and knew or had reason to know that it
                  had obtained D1 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____              Yes ____



              54. Have Masimo and Cercacor proven that Apple’s misappropriation of D1 caused Apple to be unjustly
                  enriched?
                   No _____              Yes _____




    This Alleged Trade Secret Claim Fails And You Do Not Need To            You Will Need To Consider Apple’s Defenses
                          Consider It Further
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                 Plaintiffs’ Alleged         Trade Secret No. 2




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                    Plaintiffs’ Alleged                       Trade Secret No. 2 — Liability

55. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by
    Alleged            Trade Secret 2 (D2) at the time of the alleged misappropriation?
   No _____             Yes _____


              56. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, D2 was not
                  generally known to the public or to people who could obtain economic value from its disclosure or
                  use?
                   No _____              Yes _____



              57. Have Masimo and Cercacor proven that D2 had actual or potential independent economic value
                  because it was not generally known to the public or to people who could obtain economic value
                  from its disclosure or use?
                  No _____               Yes _____


             58. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to maintain
                 the secrecy of D2?
                  No _____               Yes _____



              59. Have Masimo and Cercacor proven that Apple disclosed D2 and knew or had reason to know that it had
                  obtained D2 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____                Yes _____



              60. Have Masimo and Cercacor proven that Apple’s misappropriation of D2 caused Apple to be unjustly
                  enriched?
                  No _____               Yes _____




This Alleged Trade Secret Claim Fails And You Do Not Need To                You Will Need To Consider Apple’s Defenses
                      Consider It Further
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                 Plaintiffs’ Alleged         Trade Secret No. 3




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                     Plaintiffs’ Alleged                      Trade Secret No. 3 — Liability

61. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by Alleged
                Trade Secret 3 (D3) at the time of the alleged misappropriation?
   No _____             Yes _____


               62. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, D3 was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                   No _____               Yes _____



               63. Have Masimo and Cercacor proven that D3 had actual or potential independent economic value
                   because it was not generally known to the public or to people who could obtain economic value
                   from its disclosure or use?
                   No _____               Yes _____


             64. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to maintain
                 the secrecy of D3?
                   No _____               Yes _____



              65. Have Masimo and Cercacor proven that Apple disclosed D3 and knew or had reason to know that it had
                  obtained D3 from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                   No _____               Yes _____



              66. Have Masimo and Cercacor proven that Apple’s misappropriation of D3 caused Apple to be unjustly
                  enriched?
                   No _____               Yes _____




  This Alleged Trade Secret Claim Fails And You Do Not Need To              You Will Need To Consider Apple’s Defenses
                        Consider It Further
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          Plaintiffs’ Alleged Value, Importance And Appropriateness Trade Secret



        The value, importance, and appropriateness of the foregoing trade secrets D1, D2, D3, L1,
 L2, B1, B3, or B5, individually or collectively or in any combination




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         Plaintiffs’ Alleged Value, Importance and Appropriateness Trade Secret — Liability

67. Have Masimo and Cercacor proven that they developed or lawfully possessed the information described by Alleged
    Value, Importance and Appropriateness Trade Secret (VIA) at the time of the alleged misappropriation?
    No _____             Yes _____


               68. Have Masimo and Cercacor proven that, at the time of the alleged misappropriation, VIA was not
                   generally known to the public or to people who could obtain economic value from its disclosure or
                   use?
                    No _____               Yes _____



               69. Have Masimo and Cercacor proven that VIA had actual or potential independent economic value
                   because it was not generally known to the public or to people who could obtain economic value
                   from its disclosure or use?
                   No _____                Yes _____


               70. Have Masimo and Cercacor proven that they made reasonable efforts under the circumstances to
                   maintain the secrecy of VIA?
                   No _____                Yes _____



               71. Have Masimo and Cercacor proven that Apple used VIA and knew or had reason to know that it had
                   obtained VIA from a person who owed a duty to Masimo or Cercacor to maintain its secrecy?
                    No _____               Yes _____



               72. Have Masimo and Cercacor proven that Apple’s misappropriation of VIA caused Apple to be unjustly
                   enriched?
                   No _____                Yes _____




   This Alleged Trade Secret Claim Fails And You Do Not                    You Will Need To Consider Apple’s Defenses
                Need To Consider It Further
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                                           Apple’s Defenses

   Please answer this “Apple’s Defenses” section only if you found Apple may be liable for
   misappropriation of at least one Alleged Trade Secret. If you have not found that Apple may be
   liable for misappropriating any Alleged Trade Secrets, please skip this section and the next section
   “Trade Secret Allegation – Damages” and proceed to the section labeled “Patent Allegations.”



73. Defense #1: Has Apple proven that Masimo and Cercacor have unclean hands?
             Yes _____               No _____



                              74. Defense #2: Has Apple proven that the misappropriation of at least one
                                  Alleged Trade Secret occurred before January 9, 2017?

                                                   Yes _____               No _____



                        75. Have Masimo and Cercacor proven that, before
                            January 9, 2017, they did not discover, nor with
                            reasonable diligence should have discovered,
                            facts that would have caused a reasonable
                            person to suspect that Apple had
                            misappropriated at least one of Masimo or
                            Cercacor’s Alleged Trade Secrets?

                            Yes _____               No _____




   Apple Is Not Liable For Trade Secret                        Apple Is Liable For Trade Secret
            Misappropriation                                          Misappropriation

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                                                   Damages2

 If, and only if, you have unanimously determined that Masimo and Cercacor have proven that
 Apple may be liable for misappropriation of one or more of their Alleged Trade Secrets, you must
 now assess if Masimo and Cercacor proved damages as a result of that misappropriation and, if
 so, the amount of those damages. However, if you determined that Plaintiffs did not prove that
 Apple may be liable for misappropriation of any Alleged Trade Secrets or that none of the Alleged
 Trade Secrets should be considered for damages, then SKIP this section and proceed to “Patent
 Allegations” on page 29.




 76. Have Masimo and Cercacor proven they are entitled to unjust enrichment damages?


        Yes, in the amount of $ ___________                            No _____

 77. In the space below, please specify the mathematical connection(s) between the Alleged Trade
     Secret(s) for which you found Apple liable for misappropriation and the numerical award
     above:




  78. Have Masimo and Cercacor proven by clear and convincing evidence that Apple willfully and
      maliciously misappropriated their Alleged Trade Secrets?


             Yes _____                  No _____




                                         Please proceed to the section titled
                                                Patent Allegations




 2
  As explained further in Apple’s Memorandum Regarding Plaintiffs’ Disclosure of Alleged Lost Profits (Dkt. No.
 1443), Plaintiffs should be precluded from seeking lost profits at trial.
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                            PATENT ALLEGATIONS




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                               Patent No. 10,078,052 (’052 Patent)


79. Have Masimo and Cercacor proven                       80. Have Masimo and Cercacor proven
    by clear and convincing evidence that                     that Marcelo Lamego invented the
    Mohamed Diab should be added as a                         ’052 Patent while employed by
    named joint inventor of the ’052 Patent?                  Masimo or Cercacor?

   No _____        Yes _____                                  No _____       Yes _____




                                        81. Have Masimo and Cercacor proven that they have an
                                            ownership interest in the ’052 Patent (check all that apply)?

                                               Yes, Masimo has an ownership interest _____

                                               Yes, Cercacor has an ownership interest _____

                                               No _____




                                Proceed to the next page regarding
                                     Patent No. 10,247,670
                                          (’670 Patent)




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                               Patent No. 10,247,670 (’670 Patent)


82. Have Masimo and Cercacor proven                        83. Have Masimo and Cercacor proven
    by clear and convincing evidence that                      that Marcelo Lamego invented the
    Mohamed Diab should be added as a                          ’670 Patent while employed by
    named joint inventor of the ’670 Patent?                   Masimo or Cercacor?
   No _____        Yes _____                                  No _____       Yes _____




                                        84. Have Masimo and Cercacor proven that they have an
                                            ownership interest in the ’670 Patent (check all that apply)?
                                               Yes, Masimo has an ownership interest _____

                                           Yes, Cercacor has an ownership interest _____

                                               No _____




                                 Proceed to the next page regarding
                                       Patent No. 9,952,095
                                           (’095 Patent)




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                                Patent No. 9,952,095 (’095 Patent)

85. Have Masimo and Cercacor proven                      86. Have Masimo and Cercacor shown
    by clear and convincing evidence that                    that Marcelo Lamego invented the
    Mohamed Diab should be added as a                        ’095 Patent while employed by
    named joint inventor of the ’095 Patent?                 Masimo or Cercacor?
   No _____        Yes _____                                 No _____        Yes _____




                                        87. Have Masimo and Cercacor proven that they have an
                                            ownership interest in the ’095 Patent (check all that apply)?

                                          Yes, Masimo has an ownership interest _____

                                          Yes, Cercacor has an ownership interest _____

                                          No _____




                                Proceed to the next page regarding
                                     Patent No. 10,219,754
                                          (’754 Patent)




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                              Patent No. 10,219,754 (’754 Patent)


88. Have Masimo and Cercacor proven                   89. Have Masimo and Cercacor proven
    by clear and convincing evidence that                 that Marcelo Lamego invented the
    Jeroen Poeze should be added as a named               ’754 Patent while employed by
    joint inventor of the ’754 Patent?                    Masimo or Cercacor?
   No _____       Yes _____                               No _____        Yes _____




                                     90. Have Masimo and Cercacor proven that they have an
                                         ownership interest in the ’754 Patent (check all that apply)?

                                         Yes, Masimo has an ownership interest _____

                                         Yes, Cercacor has an ownership interest _____

                                         No _____




                                Proceed to the next page regarding
                                     Patent No. 11,009,390
                                          (’390 Patent)




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                                   Patent 11,009,390 (’390 Patent)

91. Have Masimo and Cercacor proven                        92. Have Masimo and Cercacor proven
    by clear and convincing evidence that                      that Marcelo Lamego invented the
    Mohamed Diab should be added as a                          ’390 Patent while employed by
    named joint inventor of the ’390 Patent?                   Masimo or Cercacor?
   No _____        Yes _____                                   No _____       Yes _____




                                        93. Have Masimo and Cercacor proven that they have an
                                            ownership interest in the ’390 Patent (check all that apply)?

                                               Yes, Masimo has an ownership interest _____

                                               Yes, Cercacor has an ownership interest _____

                                               No _____




                                 Please sign and date the verdict form




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 You have now reached the end of the verdict form and should review it to ensure it accurately
 reflects your unanimous determinations. The Presiding Juror should then sign and date the
 verdict form in the spaces below.


 Dated: ___________________                                 By: ______________________

                                                                   Presiding Juror




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1                      II.      OBJECTIONS TO MASIMO’S VERDICT FORM
2           Plaintiffs allege misappropriation of numerous purported trade secrets and assert
3    ownership and inventorship claims with respect to multiple patents. Apple’s proposed
4    verdict form will assist the jury in walking through each of the required elements as to
5    each alleged trade secret or patent claim; will help ensure that the parties’ respective
6    burdens of proof are clear at each step; and will provide the Court and the parties with
7    the necessary information to determine other legal issues, e.g., if additional proceedings
8    on a reasonable royalty are necessary. In contrast, Plaintiffs’ proposed verdict form
9    oversimplifies and confuses the decision-making process, and it risks injecting errors
10   into the final verdict.1
11          A.     Apple objects to Plaintiffs’ proposed verdict form because it increases the
12   risk of an unsupported and excessive jury verdict.
13          To begin, Apple objects to Plaintiffs’ proposed verdict form because Plaintiffs’
14   proposed ordering of the questions creates a serious risk that the jury will improperly (1)
15   award damages that include a punitive element, even though the amount and propriety
16   of those damages are matters for this Court, and (2) decide on damages before even
17   considering Apple’s affirmative defenses such as statute of limitations. Even accepting
18   arguendo that Plaintiffs’ verdict form is otherwise permissible, the jury should be asked
19   first about misappropriation, next about Apple’s affirmative defenses, then about
20   damages, and only then about willfulness and maliciousness. It is the Court’s job to
21   determine the appropriateness and amount of punitive damages and, if Apple prevails
22   on an affirmative defense, there is no liability for trade secret misappropriation and
23   therefore should be no damages. By asking the jury to first award damages before
24   considering Apple’s affirmative defenses (and to determine whether punitive damages
25
     1
26     As noted in Apple’s proposed verdict form, Apple preserves its legal position that
     Plaintiffs must prove which party owned each alleged trade secret. Apple also reserves
27   the right to seek a special verdict question on each of the following issues depending on
     how the Court rules on the following jury instruction disputes: (1) readily ascertainable,
28   (2) combination trade secrets, (3) liability based on improper acquisition, and (4) lost
     profits.


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1    are appropriate before awarding damages), Plaintiffs’ verdict form invites error.
2          Apple also objects to Plaintiffs’ proposed verdict form because it asks the jury to
3    consider Apple’s statute of limitations defense on a trade-secret-by-trade-secret basis.
4    Apple incorporates by reference its arguments in support of Apple’s Proposed Jury
5    Instructions No. 34B, which explain that the limitations period begins to run on all
6    misappropriation claims when plaintiff knew or should have discovered the first instance
7    of misappropriation. See MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095,
8    1110 (N.D. Cal. 2012) (collecting cases); see also, e.g., Intermedics, Inc. v. Ventritex,
9    Inc., 822 F. Supp. 634, 654 (N.D. Cal. 1993) (“[O]nce a plaintiff knows or should know
10   that a particular defendant cannot be trusted with one secret, it is unreasonable for that
11   plaintiff simply to assume that that defendant can be trusted to protect other secrets.”).
12   Indeed, this aspect of Plaintiffs’ proposed verdict form is inconsistent with their own
13   proposed statute of limitations jury instruction, which conforms with Apple’s position
14   and states that “[t]o succeed on this defense, Apple must prove that the claimed
15   misappropriation of a trade secret occurred before January 9, 2017.”            Plaintiffs’
16   Proposed Instruction No. 34A (emphasis added).
17         Apple also objects to Plaintiffs’ proposed verdict form because it fails to include
18   the questions necessary to fully understand the jury’s findings—which will be critical
19   for post-trial motion practice and any appellate proceedings.         As one illustrative
20   example, it is critical to know whether the jury has made the requisite findings to entitle
21   Plaintiffs to damages for unjust enrichment or to a reasonable royalty. Apple’s proposed
22   verdict form appropriately collects the information required to determine whether
23   Plaintiffs have established their unjust enrichment case or, in the alternative, may seek
24   a reasonable royalty after the trial. And, on other liability issues, the granularity of
25   Apple’s form will facilitate review by this Court (in post-trial motion practice) and by
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27
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1    the court of appeals in any appeal.2
2          Relatedly, Plaintiffs’ proposed verdict form does not make clear that the jury can
3    only award damages based on the sole theory left in this case, unjust enrichment.
4    Instead, Plaintiffs’ proposal attempts to disassociate damages from any specific theory
5    by framing the question generally and vaguely as “how much money should Apple pay
6    Masimo for that trade secret misappropriation.” In contrast, Apple’s proposed verdict
7    form correctly reflects that Plaintiffs’ only remaining theory in this case for which the
8    jury can award damages is unjust enrichment.
9          Finally, Apple objects to Plaintiffs’ proposed verdict form because it fails to
10   identify the specific company or companies that should be named as joint owners of the
11   disputed patents and instead refers solely to “Masimo.” A verdict based on Plaintiffs’
12   proposed verdict form will thus provide none of the necessary guidance to the Court in
13   crafting an ownership judgment.
14         B.     Plaintiffs’ objections to Apple’s proposed verdict form are meritless.
15   Plaintiffs’ chief complaint is that Apple’s proposed verdict form is too long given that
16   Plaintiffs raised only “one claim for trade secret misappropriation.” To be clear,
17   Plaintiffs are pursuing liability for a dozen different purported trade secrets nested within
18   that “single claim,” all of which raise complex, disputed factual issues. Apple’s flow-
19   chart approach provides a clear way for the jury to register its verdict on each essential
20   element of Plaintiffs’ claim for each alleged trade secret. As noted above, this will create
21   transparency in the jury’s decision-making, which in turn will facilitate review by this
22   Court in post-trial motion practice and by the court of appeals in any appellate
23   proceedings. And courts in the Ninth Circuit routinely ask jurors to answer written
24
25   2
       While Plaintiffs criticize the question asking the jury—if relevant—to “specify the
26   mathematical connection(s)” between Apple’s misappropriation and the jury’s damages
     award, this question too will help ensure that the jury’s damages award is supported by
27   the factual record and consistent with this Court’s instructions. See, e.g., Hatami v. Kia
     Motors Am., Inc., 2010 WL 11475044, at *3-*4 (C.D. Cal. July 7, 2010 (verdict form
28   included questions to show how jury calculated value of car and jury’s answers revealed
     they had misunderstood the jury instructions).


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1    questions on the verdict form in trade secret cases. See, e.g., GSI Techs., Inc. v. United
2    Memories, Inc., 2016 WL 3035698, at *2 & n.25 (N.D. Cal. May 26, 2016) (verdict form
3    “ask[ed] the jury to answer, yes or no, if every element of misappropriation of trade
4    secrets was proven” and “asked the jury to determine [plaintiffs’] damages for each
5    claim”); Mattel, Inc. v. MGA Entertainment, Inc., 2011 WL 3420571, at *2 (C.D. Cal.
6    Aug. 4, 2011) (noting that the verdict form “asked the jury to resolve,” for each of the
7    alleged 114 trade secrets, (1) ownership, (2) “whether the claimed trade secret qualified
8    as a trade secret,” (3) “whether Mattel misappropriated the claimed trade secret,” (4)
9    “whether Mattel used ‘improper means’ … to acquire the claimed trade secret,” and (5)
10   “the damages, if any, to which MGA was entitled”); StrikePoint Trading, LLC v.
11   Sabolyk, 2009 WL 10659684, at *1 (C.D. Cal. Aug. 18, 2009) (jury was asked about (1)
12   ownership, (2) whether “the client list was a trade secret,” (3) whether defendants
13   “misappropriated the client list” by improperly using it or disclosing it, (4) whether
14   plaintiff “was harmed” by the misappropriation, (5) whether the misappropriation
15   “was … a substantial factor in causing harm,” and (6) whether defendants were unjustly
16   enriched”); see also Atlantic Inertial Systems, Inc. v. Condor Pacific Indus., 545 F.
17   App’x 600, 601 (9th Cir. 2013) (“The jury returned a special verdict in which it found,
18   as relevant here, that Defendants’ misappropriation of trade secrets did not cause or was
19   not a substantial factor in causing harm to Plaintiff.”); United States v. Ward, 645 F.
20   App’x 539, 541 (9th Cir. 2016) (“[The] special verdict form required the jury to
21   unanimously agreed on which particular trade secrets Ward had converted[.]”).
22         Plaintiffs’ cases are inapposite. Not one of them involved trade secret litigation
23   and the only decision from California ultimately ordered a new trial because the kind of
24   general verdict that Plaintiffs tout was insufficiently detailed. See Falcon Stainless, Inc.
25   v. Rino Companies, Inc., 2011 WL 13130703, at *17 (C.D. Cal. Oct. 21, 2011) (“Where
26   the original agreed-upon [special] verdict form allowed for a finding on [an unclean
27   hands] issue, and defendants had relied on the defense during their case, the substituted
28   general verdict should have provided for a jury finding on this issue. Because it did not,


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1    a new trial is warranted.”). The remainder of Plaintiffs’ cases are decades old, from
2    outside the Ninth Circuit, and deal with the denial of special requests to instruct the jury
3    on a particular legal theory that was not an element of the underlying claim. See Bowers
4    v. Firestone Tire & Rubber Co., 800 F.2d 474, 478 (5th Cir. 1986) (district court
5    declined to ask “the jury whether plaintiff Robert J. Bowers ‘failed to heed the warnings
6    given to him’”); Columbia Plaza Corp. v. Security Nat. Bank, 676 F.2d 780, 787 (D.C.
7    Cir. 1982) (district court declined to ask jury separate, specific question on vicarious
8    liability); Ortiz v. New York City Housing Authority, 22 F. Supp. 2d 15, 26 (E.D.N.Y.
9    1998) (district court declined to ask “a special interrogatory as to whether Henriques
10   was an intruder”).
11         Plaintiffs’ remaining objections are equally meritless. First, Plaintiffs contend
12   that some questions on Apple’s proposed verdict form are unnecessary because “much
13   of the evidence will be common between trade secrets.” But regardless of whether the
14   underlying evidence partially overlaps, Plaintiffs still have the burden to prove each
15   element of their misappropriation claim for each purported trade secret and the jury is
16   under no obligation to vote in a uniform way.
17         Second, Plaintiffs object to Apple listing fewer questions for its two affirmative
18   defenses than for Plaintiffs’ (1) a dozen trade secret claims, (2) five inventorship claims,
19   and (3) five ownership claims. Again, given the volume of the claims that Plaintiffs is
20   asserting, Apple cannot reasonably be faulted for posing a sufficient number of questions
21   to allow the jury to present its findings for each point. In any event, Apple’s defenses
22   are not trade-secret (or ownership/inventorship claim) specific. As discussed above, the
23   statute of limitations period begins to run on all misappropriation claims when Plaintiffs
24   discovered or should have reasonably discovered the first instance of misappropriation.
25   Similarly, Apple’s unclean hands defense could be triggered by a single, improper use
26   of Plaintiffs’ invalid Employment Confidentiality Agreement.
27         Finally, Plaintiffs wrongly assert that whether a purported trade secret is
28   “generally known” is part of the same, single inquiry as whether the purported secret has


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1    “independent economic value.”     As explained in Apple’s argument on Proposed
2    Instruction No. 19B, this is wrong. This Court itself has explained that the inquiry
3    proceeds in two steps: “whether the [purported trade secrets] were generally unknown,
4    and if so, whether they derived value from their secrecy.” Dkt. 1275 at 7 (emphasis
5    added).
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1
                                                   Respectfully submitted,
2
3                                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
4
     Dated: March 28, 2023                         By: /s/ Daniel P. Hughes
5                                                       Daniel P. Hughes
6                                                          Attorneys for Plaintiffs
                                                           MASIMO CORPORATION and
7                                                          CERCACOR LABORATORIES, INC.
8
9                                                  WILMER CUTLER PICKERING HALE AND DORR,
                                                   LLP
10
     Dated: March 28, 2023                         By: /s/ Mark D. Selwyn
11                                                      Mark D. Selwyn
12                                                         Attorneys for Defendant
                                                           APPLE INC.
13
14
                       ATTESTATION UNDER LOCAL RULE 5-4.3.4(a)(2)(i)
15
                Pursuant to Civil L. R. 5-4.3.4(a)(2)(i), I attest that concurrence in the filing of
16
     this document has been obtained from each of the signatories above.
17
18
     Dated: March 28, 2023                         By: /s/ Daniel P. Hughes
19                                                      Daniel P. Hughes
20   56455602


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